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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ROBERT GOLDMAN
on behalf of himself and
all other similarly situated consumers

                                    Plaintiff,

                  -against-


MCCARTHY, BURGESS & WOLFF, INC.

                                    Defendant.

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                                        CLASS ACTION COMPLAINT

                                                      Introduction

1.       Plaintiff Robert Goldman seeks redress for the illegal practices of McCarthy, Burgess &

         Wolff, Inc. concerning the collection of debts, in violation of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

                                                            Parties

2.       Plaintiff is citizen of the State of New York who resides within this District.

3.       Plaintiff is consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in that

         the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.       While the account was perhaps labeled as a business account purportedly owed to Citi,

         the account was primarily used for personal purposes.

5.       Upon information and belief, Defendant’s principal place of business is located in

         Cleveland, Ohio.




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6.      Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

        consumers.

7.      Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

        1692(a)(6).

                                           Jurisdiction and Venue

8.      This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

        1331.

9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

        transactions that give rise to this action occurred, in substantial part, in this district.

                                 Allegations Particular to Robert Goldman

10.     Upon information and belief, on a date better known by Defendant, Defendant began to

        attempt to collect an alleged consumer debt from the Plaintiff.

11.     Within the one year immediately preceding this action, the Defendant left many

        messages on the Plaintiff's answering machine on numerous occasions.

12.     The callers failed to identify themselves as debt collectors attempting to collect a debt.

13.     Upon information and belief, the said messages were either pre-scripted and or pre-

        recorded.

14.     Defendant has engaged in a pattern of leaving messages without disclosing that the

        communication is from a debt collector.

15.     The said telephone messages are in violation of 15 U.S.C. §§ 1692d(6), 1692e,

        1692e(10) and 1692e(11) for failing to indicate that the messages were from a debt

        collector and for not meaningfully disclosing the caller's identity which constitutes a

        deceptive practice.




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                             AS AND FOR A FIRST CAUSE OF ACTION
Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of himself and the
                              members of a class, as against the Defendant.
16.     Plaintiff re-states, re-alleges, and incorporates herein by reference, paragraphs one (1)

        through fifteen (15) as if set forth fully in this cause of action.

17.     This cause of action is brought on behalf of Plaintiff and the members of a class.

18.     The class consists of all persons whom Defendant’s records reflect resided in New York

        who received telephonic messages from Defendant within one year prior to the date of

        the within complaint up to the date of the filing of the complaint; (a) the telephone

        messages were placed without setting forth that the communication was from a debt

        collector; and (b) without meaningful disclosure of the caller's identity; and (c) the

        Plaintiff asserts that the telephone messages were in violation of 15 U.S.C. §§ 1692d(6),

        1692e, 1692e(10) and 1692e(11).

19.     Pursuant to Federal Rule of Civil Procedure 23, a class action is appropriate and

        preferable in this case because:

                A. Based on the fact that form telephonic messages are at the heart of this

                    litigation, the class is so numerous that joinder of all members is

                    impracticable.

                B. There are questions of law and fact common to the class and these questions

                    predominate over any questions affecting only individual class members. The

                    principal question presented by this claim is whether the Defendant violated

                    the FDCPA.




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               C. The only individual issue is the identification of the consumers who received

                   such telephonic messages, (i.e. the class members), a matter capable of

                   ministerial determination from the records of the Defendant.

               D. The claims of the Plaintiff are typical of those of the class members. All are

                   based on the same facts and legal theories.

               E. The Plaintiff will fairly and adequately represent the class members’

                   interests. The Plaintiff has retained counsel experienced in bringing class

                   actions and collection-abuse claims. The Plaintiff's interests are consistent

                   with those of the members of the class.

20.     A class action is superior for the fair and efficient adjudication of the class members’

        claims. Congress specifically envisions class actions as a principal means of enforcing

        the FDCPA. 15 U.S.C. § 1692(k). The members of the class are generally

        unsophisticated individuals, whose rights will not be vindicated in the absence of a class

        action. Prosecution of separate actions by individual members of the classes would

        create the risk of inconsistent or varying adjudications resulting in the establishment of

        inconsistent or varying standards for the parties and would not be in the interest of

        judicial economy.

21.     If the facts are discovered to be appropriate, the Plaintiff will seek to certify a class

        pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

22.     Collection attempts, such as those made by the Defendant are to be evaluated by the

        objective standard of the hypothetical “least sophisticated consumer.”




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                            Violations of the Fair Debt Collection Practices Act

23.     The Defendant's actions as set forth above in the within complaint violates the Fair Debt

        Collection Practices Act.

24.     Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

        the members of the class are entitled to damages in accordance with the Fair Debt

        Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests preliminary and permanent injunctive relief, and that

this Court enter judgment in his favor and against the Defendant and award damages as follows:

                (a)     Statutory damages provided under the FDCPA, 15 U.S.C. §

                        1692(k);

                (b)      Attorney fees, litigation expenses and costs incurred in bringing this

                         action; and

                (c)      Any other relief that this Court deems appropriate and just under the

                        circumstances.

                                    Dated: Cedarhurst, New York
                                           September 30, 2015


                                              /s/ Adam J. Fishbein___________
                                         Adam J. Fishbein, P.C. (AF-9508)
                                          Attorney At Law
                                            Attorney for the Plaintiff
                                             483 Chestnut Street
                                                Cedarhurst, New York 11516
                                                  Telephone (516) 791-4400
                                                   Facsimile (516) 791-4411

Plaintiff requests trial by jury on all issues so triable.


                                             /s/ Adam J. Fishbein___
                                         Adam J. Fishbein (AF-9508)



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